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                           UN ITED STA TES D ISTRICT COU RT
                           SOUTHERN DISTRICT OF FLORIDA
                           CASE N O.13-10029-CR-M ARTlNEZ

 UN ITED STA TES O F AM ERICA

        Plaintiff,
 VS.

 SEVERO TAPAN ES,

         Defendant.

        O R DER A D O PTIN G M A G ISTM TE 'S R EPO RT A N D R EC O M M EN DA TIO N

        THIS CAUSE cam ebeforetheCourtupon the OrderofReferencefrom theDistrict

  Coul'
      tto conducta ChangeofPleabeforea M agistrate Judge.
        THE M ATTER wasreferredto M agistrateJudgeLurana S.Snow ,on December 19,

  2013.A ReportandRecommendationwastiledonJanuary7,2014,(D.E.#197),recommending
  thattheDefendant'splea ofguilty be accepted.Thepartieswereafforded the opportunityto file

  objectionstotheReportand Recommendation,howevernonewerefiled.TheCourthas
  reviewedtheentirefileandrecordandnotesthatnoobjectionshavebeentiled.Aftercareful
  consideration,the Courtaffirm sand adoptstheReportand Recomm endation.Accordingly,itis

  hereby'
        .
         O R D ERED A ND A DJU D G ED that
         TheReportandRecommendation(D.E.# 197)ofUnited StatesM agistrateJudgeLurana
  S.Snow,ishereby AFFIRM ED and ADO PTED in itsentirety.
         TheDefendantisadjudgedguiltyto Counts83,84,and85oftheIndictmentwhich
  chargestheDefendant,with alien smugglingforfinancialgain,in violation ofTitle 8,United
  StatesCode,Section 1324(a)(2)(B)(ii),andastoCount104,beingan alienfoundin theUnited
  Statesafterdeportation withoutperm issionto reapply foradmission,in violation of8 U.S.C.

   SectionD1O32N6E(a)and(b)(2).
                    AN D O R D ER ED in Cham bersatM iam i Florida,this
                                                       ,
                                                                        1 day ofFebruary,2014.

                                                JO     .M A     EZ
                                                      ED STA TES D ISTRICT JU D GE

   Copied:H on.M agistrate Snow
   A 1lCounselOfR ecord
   U .S.Probation O ffiee
